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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,

         Plaintiffs,

 v.                                                    Civil Action No. 4:20-cv-00957-SDJ

 GOOGLE LLC,

         Defendant.


           PLAINTIFF STATES’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Plaintiff States respectfully provide notice to the Court and the Special Master of

supplemental authority in connection with its pending Motion to Compel Written Discovery

Regarding Destruction of Google Chats (Dkt. 540). In a ruling last week denying Google’s

renewed motion for judgment as a matter of law or for a new trial after its trial loss against plaintiff

Epic Games, Judge Donato rejected Google’s arguments that his evidentiary rulings and adverse

inference instruction regarding Google’s deletion of Chats warranted a new trial. In re Google Play

Store Antitrust Litig., No. 20-CV-05671-JD, 2024 WL 3302068 (N.D. Cal. July 3, 2024) (“Play”).

A copy of the Play ruling is attached hereto as Exhibit A.

        As Plaintiff States discussed in their Motion, the Play court previously granted Rule 37

sanctions against Google, including an adverse inference at trial, for the intentional destruction of

relevant Google Chats. Dkt. 540 at 1 (citing In re Google Play Store Antitrust Litig., 664 F. Supp.

3d 981 (N.D. Cal. 2023)). Rejecting Google’s bid for a new trial, the Play court notes that “the

evidence presented at trial added more fuel to this fire” beyond even what the court found in its

initial order awarding sanctions. Play, 2024 WL 3302068 at *15. Indeed, the court found “an



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abundance of pretrial and trial evidence demonstrating an ingrained systemic culture of

suppression of relevant evidence within Google.” Id. (internal quotation marks omitted). The court

specifically noted “the seriousness of these issues” and “the likelihood that they could affect other

litigation matters where Google is a party”—acknowledging the connection between the Chat

issues in front of it and the Chat issues raised in other pending cases like this one. Id. And it called

the response from Google’s chief legal officer to the court’s concerns “disappointing.” Id. The

court stated that the chief legal officer “had not investigated [the deletion of Google Chats] in any

way” and that “[m]uch of [the chief legal officer’s] testimony was in direct opposition to the facts

established at the prior Google Chat hearing.” Id. Ultimately, the court concluded, “Google's

complaints about the inference instruction are wholly misdirected. It has not provided anything

close to a good reason to conclude otherwise.” Id.

        The court also found other efforts by Google to “suppress discovery,” namely a “frankly

astonishing abuse of the attorney-client privilege designation” by Google employees up to and

including CEO Sundar Pichai. Id. at *14.

        Plaintiff States alert the Special Master and the Court to this latest decision regarding

Google’s destruction of Google Chats for their consideration in deciding the States’ Motion.




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 DATED: July 9, 2024                              Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I certify that on July 9, 2024, this document was filed electronically in compliance with

Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                    /s/ Noah S. Heinz
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